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                       IN THE UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION

IN RE:                                        {               CHAPTER 13
                                              {
CHESTER PAUL RAMAGOS &                        {               CASE NO. 17-69050 - LRC
DANA LATRICE RAMAGOS                          {
                                              {
         DEBTORS                              {

                            APPLICATION FOR COMPENSATION

         COMES NOW The Semrad Law Firm, LLC, counsel of record for Chester Paul Ramagos
and Dana Latrice Ramagos, Debtors in the above-styled case, and files this Application for
Compensation and respectfully represents the following:
                                                  1.

         This case was commenced by the filing of a Voluntary Petition for relief in Bankruptcy
under Chapter 13 of Title 11 of the United States Code on November 01, 2017. The Debtors’
chapter 13 plan was not confirmed, and the case was dismissed on September 26, 2018.
                                                2.
         In accordance with the Attorney-Client Agreement agreed to and signed by the Debtors,
pursuant to the Amended Disclosure of Compensation of Attorney for Debtors (Bankruptcy Rule
2016(b) Statement) (filed July 09, 2018, Doc. No. 23), and pursuant to Paragraph 4(B) of the
Amended Chapter 13 plan (filed August 18 2018, Doc. No. 27), Counsel is entitled to a base fee
and expenses of $4,360.00 ($4,050.00 attorneys fee and $310.00 filing fee expense).
                                                  3.
         Prior to the dismissal of this case, Debtors paid $14,425.00 to the Chapter 13 Trustee. The
Trustee has paid a total of $1,812.00 in adequate protection payments and has paid herself $972.71
as reasonable case administration fees. The remaining balance on hand is $11,640.29 as of the date
of filing of this Application. Debtors’ attorney requests the balance of any funds held by the
Trustee after payment of the Trustee fee and Adequate Protection Payments, up to $4,360.00.
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                                                 4.
       General Order 22-2017 §4.2 provides that when a Chapter 13 case is dismissed prior to
confirmation of the plan, Debtors’ attorney is allowed an administrative expense in the amount of
$2,500.00, or the fee set forth in the 2016(b) statement, whichever is less. Here, the fee set forth
in the amended 2016(b) statement is also $2,500.00. However, under General Order 22-2017 §4.2,
Debtor’s attorney may request fees in excess of $2,500.00, but such request must be made within
fourteen (14) days of the entry of the order dismissing the case. Accordingly, The Semrad Law
Firm, LLC, counsel of record for Debtors, requests that this Court approve a total amount of
$4,360.00 be disbursed by the Trustee to Debtors’ counsel as compensation for services rendered
in the instant case and for the expenses (filing fee of $310.00).
                                                 5.
       As a supplement to the above, pursuant to Bankruptcy Rule 2016, Counsel has attached as
Exhibit A, a detailed statement regarding the services provided and time spent on those services.
Counsel reminds the Court that we do not bill on an hourly basis anticipated services as listed in
the 2016(b) statement filed with the Court, instead Counsel and Debtors have agreed to a flat fee.
As such, the times referenced in the supplement are Counsel's estimation based on a careful review
of the Debtors’ case and internal file. Counsel also notes, that the supplement provided is not
meant to represent a comprehensive list of the amount of time spent and tasks accomplished by
Debtors’ counsel on behalf of the Debtors.

       WHEREFORE, The Semrad Law Firm, LLC, prays for an order granting its Application
as set forth above.
Dated: October 1, 2018

                                                      Respectfully submitted,


                                                      /s/
                                                      Craig A. Cooper
                                                      Ga. Bar No. 941033
                                                      The Semrad Law Firm, LLC
                                                      303 Perimeter Center North, Suite 201
                                                      Atlanta, Georgia 30346
                                                      404-909-8665
                                                      ccooper@semradlaw.com
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                       IN THE UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION

IN RE:                                             {                  CHAPTER 13
                                                   {
CHESTER PAUL RAMAGOS &                             {                  CASE NO. 17-69050 - LRC
DANA LATRICE RAMAGOS                               {
                                                   {
         DEBTORS                                   {

                FEE APPLICATION SUPPLEMENT DETAILING TIME SPENT


DATE              TASK ACCOMPLISHED BY ATTORNEY                                                     MINUETS
November 01,      Preparation of Chapter 13 Voluntary Petition, Plan, Paystubs, Credit
2017              Counseling Certificate, Valuations in addition to research and review of credit      185
                  report, lien searches, tax assessments, review petition with Debtors, and case
                  filing.
November 01,      Preparation and Filing of Employer Deduction Order (EDO) and follow up               10
2017              with Employer and about EDO.
November 15,      Discussion with Client: 341 Meeting, Financial Management Course, and the            25
2017              confirmation process, uploaded existing documents to Trustee’s database
December 13,      Attendance of 341 Meeting of Creditors, not including travel time                    60
2017
December 13,      Discussion with Clients about re-set 341 meeting                                     10
2017
December 21,      Attendance of 341 Meeting of Creditors, not including travel time                    60
2017
January 04,       Discussion with Client about attending Confirmation Hearing                          10
2018
January 18,       Attendance at Confirmation Hearing and Discussion with Ch. 13 Trustee, not           30
2018              including travel time.
January 19,       Drafting and Filing re-scheduled hearing dates for 341 meeting and                   15
2018              confirmation hearings; Discussion with clients
February 21,      Discussion concerning attendance at 3rd 341 Hearing                                  10
2018
February 28,      Attendance of 341 Meeting of Creditors, not including travel time                    60
2018
May 13, 2018      In person meeting with clients: current objections, status of meeting of             45
                  creditors.
April 10, 2018    Attendance at Confirmation Hearing and Discussion with Ch. 13 Trustee, not           30
                  including travel time.
April 18, 2018    Drafting and Filing re-scheduled hearing dates for 341 meeting and                   15
                  confirmation hearings; Discussion with clients
May 22, 2018      Attendance of 341 Meeting of Creditors, not including travel time                    60
July 02, 2018     Review of Trustee’s Objections to Confirmation and Motion to Dismiss,                45
                  Creditor’s Objection to Confirmation and Motion to Dismiss and
                  Communication regarding the same, drafted amendments, sent amendments
July 09, 2018     Reviewed and processed proof documents produced by client to resolve the             45
                  objections to confirmation. Filed amended forms and plan. Served amended
                  plan
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 July 12, 2018    Review of claims drafted and filed certification of review of claims             30
 August 01,       Discussion with clients concerning remaining objections and resolving those      20
 2018             objections, request for documents
 August 03,       Reminder: discussion with clients concerning remaining objections and            10
 2018             resolving those objections, request for documents
 August 06,       Reviewed and processed proof documents produced by client to resolve the         15
 2018             objections to confirmation.
 August 07,       Attendance at Confirmation Hearing and Discussion with Ch. 13 Trustee, not       30
 2018             including travel time.
 August 17,       Discussion with clients concerning remaining objections and resolving those      60
 2018 to August   objections, request for documents. Drafted and filed amended plan and
 20, 2018         amended forms. Drafted, processed and filed affidavit
 August 20,       Drafted, Filed, and Served Motion to Retain Corporate Credit Card                60
 2018
 August 22,       Reviewed and processed proof documents produced by client to resolve the         20
 2018             objections to confirmation.
 September 13,    Attempted communications re: outstanding objections                              30
 2018 to
 September 24,
 2018
 September 25,    Attendance at Confirmation Hearing and Discussion with Ch. 13 Trustee, not       30
 2018             including travel time.


Total Hours: 17 (1,020 Minuets) @
Attorney Hourly Rate: $300.00

TOTAL REQUESTED DISBURSEMENT: $4,360.00 ($4,050.00 Attorneys Fees & $310.00 Expense/Filing
Fees).



Dated: October 1, 2018

                                                           Respectfully submitted,

                                                           ___________________/s/
                                                           Craig A. Cooper
                                                           GA Bar No. 941003
                                                           The Semrad Law Firm, LLC
                                                           303 Perimeter Center North. Suite 201
                                                           Atlanta, GA 30346
                                                           (678) 668-7160
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                      IN THE UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

IN RE:                                        {              CHAPTER 13
                                              {
CHESTER PAUL RAMAGOS &                        {              CASE NO. 17-69050 - LRC
DANA LATRICE RAMAGOS                          {
                                              {
         DEBTORS                              {

                                    NOTICE OF HEARING

             PLEASE TAKE NOTICE Counsel for Debtors has filed an Application for
Compensation and related papers with the Court seeking an order Granting Application for
Compensation.

       PLEASE TAKE FURTHER NOTICE that the Court will hold a hearing on application
in Courtroom 1204, United States Courthouse, 75 Ted Turner Drive S.W., Atlanta, Georgia,
30303, at 1:45 PM on November 06, 2018.

        Your rights may be affected by the Court’s ruling on these pleadings. You should read
these pleadings carefully and discuss them with your attorney, if you have one in this bankruptcy
case. (If you do not have any attorney, you may wish to consult one.) If you do not want the court
to grant the relief sought in these pleadings or if you want the court to consider your views, then
you and/or your attorney must attend the hearing. You may also file a written response to the
pleading with the Clerk at the address stated below, but you are not required to do so.
        If you file a written response, you must attach a certificate stating when, how, and on whim
(including addresses) you served the response. Mail or deliver your response so that it is received
by the Clerk at least two business days before the hearing. The address of the Clerk’s Office is:
Clerk, U.S. Bankruptcy Court, Suite 1340, 75 Ted Turner Drive S.W., Atlanta, Georgia 30303.
You must also mail a copy of your response to the undersigned at the address stated below.

Dated: October 1, 2018

                                                     ________________ /s/
                                                     Craig A. Cooper
                                                     GA Bar No. 941003
                                                     The Semrad Law Firm, LLC
                                                     303 Perimeter Center North. Suite 201
                                                     Atlanta, GA 30346
                                                     (678) 668-7160
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                    IN THE UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION

IN RE:                                   {             CHAPTER 13
                                         {
CHESTER PAUL RAMAGOS &                   {             CASE NO. 17-69050 - LRC
DANA LATRICE RAMAGOS                     {
                                         {
         DEBTORS                         {



                            CERTIFICATE OF SERVICE

        I hereby certify that I am more than 18 years of age and that I have this day
served, or caused to be served, a copy of the within Application for Compensation upon
the following by depositing a copy of the same in U.S. Mail with sufficient postage
affixed thereon to ensure delivery:

Chester Paul Ramagos
Dana Latrice Ramagos
1413 Preston Park Dr.
Duluh, GA 30096

US Trustee
362 Richard B. Russell Building
75 Ted Turner Drive, SW
Atlanta, GA 30303

(see Creditor Address Matix Annexed Hereto)

      I further certify that, by agreement of parties, Melissa J. Davey, Standing Chapter
13 Trustee, was served via ECF

Dated: October 1, 2018
                                                ___________________/s/
                                                Craig A. Cooper
                                                GA Bar No. 941003
                                                The Semrad Law Firm, LLC
                                                303 Perimeter Center North. Suite 201
                                                Atlanta, GA 30346
                                                (678) 668-7160
Label Matrix for Case    17-69050-lrc
                  local noticing           Doc 32(c)A.Filed
                                                       PORTER10/01/18
                                                              LUMMUS    Entered 10/01/18 15:58:34      DescLPMain
                                                                                          American InfoSource as agent for
113E-3                                                Document
                                                 INWOOD HOLDINGS, LLC Page 7 of 9         DIRECTV, LLC
Case 15-11705-whd                                3495 PIEDMONT RD NE BLDG 12-100                PO Box 51178
Northern District of Georgia                     ATLANTA GA 30305-8001                          Los Angeles, CA 90051-5478
Newnan
Mon Oct 1 12:39:16 EDT 2018
BellSouth Telecommunications, Inc.               William Alexander Bozarth                      Capital One Auto Finance
% AT&T Services, Inc                             Office of Melissa J. Davey                     4515 N Santa Fe Ave. Dept. APS
Karen Cavagnaro, Paralegal                       Standing Chapter 13 Trustee                    Oklahoma City, OK 73118-7901
One AT&T Way, Room 3A104                         Suite 200
Bedminster, NJ 07921-2693                        260 Peachtree Street, NW
                                                 Atlanta, GA 30303-1236
Capital One Auto Finance                         Capital One Auto Finance, a division of Capi   Capital One Auto Finance, c/o AIS Portfolio
3905 N Dallas Pkwy                               c/o Ascension Capital Group                    Services, LP f/k/a AIS Data Services
Plano, TX 75093-7892                             4515 N. Santa Fe Ave. Dept. APS                d/b/a Ascension Capital Group
                                                 Oklahoma City, OK 73118-7901                   4515 N Santa Fe Ave. Dept APS
                                                                                                Oklahoma City, OK 73118-7901

Melissa J. Davey                                 Shawanda Frances Davis                         Department of Justice, Tax Div
Melissa J. Davey, Standing Ch 13 Trustee         100 Knight Way Apt. 902                        Civil Trial Section, Southern
Suite 200                                        Fayetteville, GA 30214-1797                    PO Box 14198; Ben Franklin Sta
260 Peachtree Street, NW                                                                        Washington, DC 20044-4198
Atlanta, GA 30303-1236

Dept Of Education/neln                           Diversified Consultant                         Educational Credit Management Corporation
121 S 13th St                                    10550 Deerwood Park Blvd                       P.O. Box 16408
Lincoln, NE 68508-1904                           Jacksonville, FL 32256-0596                    St. Paul, MN 55116-0408



Enhanced Recovery Corp                           Exeter Finance Corp                            Exeter Finance Corp.
Attention: Client Services                       Po Box 166097                                  PO Box 201347
8014 Bayberry Rd                                 Irving, TX 75016-6097                          Arlington, TX 76006-1347
Jacksonville, FL 32256-7412


Exeter Finance LLC                               Exeter Finance LLC                             Fayette County Magistrate Ct
4515 N Santa Fe Ave. Dept. APS                   P.O. Box 165028                                1 Center Drive
Oklahoma City, OK 73118-7901                     Irving, TX 75016-5028                          Fayetteville, GA 30214-8401



Fulton Teachers Cred U                           (p)GEORGIA DEPARTMENT OF REVENUE               IC System
3604 Atlanta Ave                                 COMPLIANCE DIVISION                            Attn: Bankruptcy
Hapeville, GA 30354-1958                         ARCS BANKRUPTCY                                444 Highway 96 East; Po Box 64378
                                                 1800 CENTURY BLVD NE SUITE 9100                St. Paul, MN 55164-0378
                                                 ATLANTA GA 30345-3202

Instaloan                                        Instaloan of Union City, GA1                   Internal Revenue Service
15 Bull Street                                   4791 Jonesboro Rd Suite 5                      401 W Peachtree St. NW
Suite 200                                        Union City, GA 30291-1997                      Stop 334-D
Savannah, GA 31401-2686                                                                         Atlanta, GA 30308


Internal Revenue Service                         Leroy Davis Jr.                                Midland Funding
P.O. Box 7346                                    130 Rockfort Court                             8875 Aero Dr Ste 200
Philadelphia, PA 19101-7346                      Atlanta, GA 30349-4472                         San Diego, CA 92123-2255
Navient         Case 17-69050-lrc           Doc 32Navient
                                                       Filed  10/01/18
                                                          Solutions          Entered
                                                                    Inc. on behalf  of USA10/01/18
                                                                                           Fund    15:58:34      DescInc.
                                                                                                    Navient Solutions, Main
                                                                                                                          on behalf of TGSLC
Po Box 9500                                            Document           Page     8  of
                                                  Attn: Bankruptcy Litigation Unit E3149 9          P.O. Box 83100
Wilkes Barre, PA 18773-9500                          P.O. Box 9430                                        Round Rock, TX 78683-3100
                                                     Wilkes-Barre, PA 18773-9430


Ncc Business Svcs Inc                                Nelnet                                               Nelnet on behalf of PHEAA
9428 Baymeadows Rd Ste 2                             Attn: Claims                                         PA Higher Education Assistance Agency
Jacksonville, FL 32256-7912                          Po Box 17460                                         PO Box 8147
                                                     Denver, CO 80217-0460                                Harrisburg, PA. 17105-8147


Office of Attorney General                           (c)PEGASUS RESIDENTIAL, L.L.C.                       Pfs
40 Capitol Square, SW                                RA: A. PORTER LUMMUS                                 Po Box 811
Atlanta, GA 30334-9057                               3495 PIEDMONT RD NE BLDG 12-100                      Spartanburg, SC 29304-0811
                                                     ATLANTA GA 30305-8001


Jonathan A Proctor                                   Philip L. Rubin                                      Special Assistant U.S. Attorne
The Semrad Law Firm, LLC                             Lefkoff, Rubin. Gleason & Russo                      401 W. Peachtree Street, NW
303 Perimeter Center North, #201                     Suite 900                                            STOP 1000-D, Suite 600
Atlanta, GA 30346-3425                               5555 Glenridge Connector                             Atlanta, GA 30308
                                                     Atlanta, GA 30342-4762

Stellar Recovery Inc                                 Stu Ln Trust                                         Trident Asst
4500 Salisbury Rd Ste 10                             701 E. 60th St. North                                53 Perimeter Ctr E Ste 4
Jacksonville, FL 32216-8035                          Sioux Falls, SD 57104-0432                           Atlanta, GA 30346-2294



U.S. Department of Education                         United States Attorney’s Offic                       United Student Aid Funds, Inc (USAF)
C/O Nelnet                                           75 Spring Street, S.W.                               PO Box 8961
3015 South Parker Road, Suite 400                    Suite 600 U.S. Courthouse                            Madison WI 53708-8961
Aurora, CO 80014-2904                                Atlanta, GA 30303-3315


Us Dep Ed
Po Box 7202
Utica, NY 13504




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Georgia Department of Revenue
Bankruptcy Unit
1800 Century Blvd. Suite 17200
Atlanta, GA 30345-3205




                                     Addresses marked (c) above for the following entity/entities were corrected
                                          as required by the USPS Locatable Address Conversion System (LACS).
A. Porter Lummus Case 17-69050-lrc             Doc 32PEGASUS
                                                          Filed  10/01/18
                                                             RESIDENTIAL, L.L.C. Entered 10/01/18 15:58:34            Desc Main
Inwood Holdings, LLC                                 RA: A. Porter Lummus Page 9 of 9
                                                          Document
12 Piedmont Ctr Ste 100                              12 Piedmont Center Ste 100
Atlanta, GA 30305                                    Atlanta, GA 30305




                The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(d)Educational Credit Management Corporation         (u)Exeter Finance Corp.                             End of Label Matrix
P.O. Box 16408                                                                                           Mailable recipients   48
St. Paul, MN 55116-0408                                                                                  Bypassed recipients    2
                                                                                                         Total                 50
